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        UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

 CARL HOFFER, et al.,

              Plaintiffs,

 v.                                     Case No. 4:17cv214-MW/CAS

 JULIE L. JONES, in her official
 capacity as Secretary of the
 Florida Department of
 Corrections,

            Defendant.
 __________________________/

                   ORDER GRANTING
            MOTION FOR CLASS CERTIFICATION

       Plaintiffs challenge the policies and practices of the Florida

 Department of Corrections (“FDC”) for treating Hepatitis C. ECF

 No. 1. Specifically, Plaintiffs claim that Defendant is acting with

 deliberate indifference to their serious medical needs, in violation

 of the Eighth Amendment, and that Defendant is discriminating

 against them on the basis of disability in violation of the

 Americans with Disabilities Act (“ADA”) and the Rehabilitation

 Act (“RA”). Id. Presently before this Court is Plaintiffs’ motion for

 class certification, in which Plaintiffs seek to certify a class of “all

 current and future prisoners in FDC custody who have been

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 diagnosed, or will be diagnosed, with chronic hepatitis C virus

 (HCV).” ECF No. 10, at 2. To succeed in their motion, Plaintiffs

 must satisfy the four requirements of Federal Rule of Civil

 Procedure 23(a). Plaintiffs must also satisfy the requirements of

 Rule 23(b)(2). 1 This Court finds that Plaintiffs have satisfied the

 necessary requirements; accordingly, Plaintiffs’ motion for class

 certification is GRANTED.

                        I. Rule (23)(a) Requirements

        Federal Rule of Civil Procedure 23(a) imposes four

 requirements on a party moving to certify a class. Specifically, the

 moving party must show: (1) numerosity, (2) commonality, (3)

 typicality, and (4) adequacy. See Fed. R. Civ. P. 23(a). This Court

 finds that each of these requirements has been met.

                                (1) Numerosity

        The numerosity requirement provides that a class can only

 be certified if “the class is so numerous that joinder of all members

 is impracticable.” Fed. R. Civ. P. 23(a)(1). “[W]hile there is no fixed

 numerosity rule, ‘generally less than twenty-one is inadequate,

 more than forty adequate, with numbers between varying



        1Plaintiffs could choose to qualify for any of the Rule 23(b) class-types,
 but they have only alleged that Rule 23(b)(2) applies, ECF No. 10, at 2.
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 according to other factors.’” Cox v. Am. Cast Iron Pipe Co., 784 F.2d

 1546, 1553 (11th Cir. 1986). At the hearing on Plaintiffs’ motion,

 the parties presented evidence showing that the proposed class

 includes at least 7,000 inmates and likely includes upwards of

 20,000 inmates. 2 ECF No. 151, at 52–53; Test. of Dr. Dewsnup.

 Joining that many members would certainly be impracticable. See

 Williams v. Wells Fargo Bank, N.A., 280 F.R.D. 665, 671–72 (S.D.

 Fla. 2012). As such, Plaintiffs have satisfied the numerosity

 requirement.

                             (2) Commonality

       The commonality requirement provides that a class can only

 be certified if “there are questions of law or fact common to the

 class.” Fed. R. Civ. P. 23(a)(2). There is no requirement as to the

 number of common questions—even a single common question will

 do. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359 (2011). A

 question is “common” if it “is capable of classwide resolution—

 which means that determination of its truth or falsity will resolve

 an issue that is central to the validity of each one of the claims in

 one stroke.” See id. at 350.



       2  “[A] plaintiff need not show the precise number of members in the
 class.” Evans v. U.S. Pipe & Foundry Co., 696 F.2d 925, 930 (11th Cir. 1983).
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        In this case there are several questions of law or fact

 common to the class. For example, one common question of fact is

 what the appropriate standard of care is for a person with chronic

 HCV. Common questions of law include whether FDC’s failure to

 meet that standard of care constitutes deliberate indifference

 under the Eighth Amendment or discrimination under the ADA or

 RA. All of these questions are subject to classwide resolution.

        Defendant disputes that Plaintiffs have satisfied the

 commonality requirement and argues that “[b]ased on the wide

 disparity of symptoms and the decades long process in which it

 takes for symptoms to occur . . . a one stroke determination by this

 Court would undermine the individualized assessment and

 treatment required for those with HCV.” 3 ECF No. 32, at 6 n.2. But


        3 Defendant repeatedly cites the Supreme Court’s decision in Wal-Mart,
 emphasizing that it “heightened the standards for establishing commonality”
 and “made it more difficult for all class action proponents to satisfy the
 common-issue requirement.” ECF No. 32, at 6–7 (quotations omitted).
 Whatever the result of Wal-Mart, Plaintiffs’ proposed class satisfies the
 Supreme Court’s standard. In discussing commonality, the Court explained as
 follows:

       Commonality requires the plaintiff to demonstrate that the class
       members “have suffered the same injury.” This does not mean
       merely that they have all suffered a violation of the same
       provision of law. Title VII, for example, can be violated in many
       ways—by intentional discrimination, or by hiring and promotion
       criteria that result in disparate impact, and by the use of these
       practices on the part of many different superiors in a single
       company. Quite obviously, the mere claim by employees of the
       same company that they have suffered a Title VII injury, or even
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 Defendant misses the point. Plaintiffs’ claims are focused “on

 Defendant’s policy of non-treatment for HCV, which exposes every

 HCV patient to the same risk, regardless of their symptoms.” ECF

 No. 35, at 3.

        Defendant’s misguidance is best illustrated through an

 example. Consider, for instance, a prison policy that states that

 every inmate with a broken bone must wait five years before they

 are treated. Under Defendant’s logic, inmates subject to that policy

 could not initiate a class action to change the policy because each

 inmate suffers from individualized conditions. That, of course,

 would be pure applesauce. 4 Although each inmate may be

 differently situated (e.g., one may have a broken toe, and another

 a broken rib), they each suffer from the same injury: being subject




        a disparate-impact Title VII injury, gives no cause to believe that
        all their claims can productively be litigated at once. Their
        claims must depend on a common contention—for example, the
        assertion of discriminatory bias on the part of the same
        supervisor.

 Wal-Mart, 564 U.S. at 349–50 (citation omitted).

         Here, Plaintiffs do not merely share a violation of the same provision of
 law; rather, they also share a “common contention”—they allege that FDC’s
 policies and practices for treating inmates with HCV are illegal.

        4Credit goes to the late Justice Scalia for introducing this phrase to the
 legal world. See King v. Burwell, 135 S.Ct. 2480, 2501 (2015) (Scalia, J.,
 dissenting).
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 to the five-year delay. See Parsons v. Ryan, 754 F.3d 657, 678 (9th

 Cir. 2014) (affirming certification of statewide prisoner-class

 alleging deficient medical care; noting that “every inmate suffers

 exactly the same constitutional injury when he is exposed to a

 single statewide [prison] policy or practice that creates a

 substantial risk of serious harm”); see also Cooper v. S. Co., 390

 F.3d 695, 714 (11th Cir. 2004) (“Neither the typicality nor the

 commonality requirement ‘mandates that all putative class

 members share identical claims, and . . . factual differences among

 the claims of the putative class members do not defeat

 certification.’” (quoting Baby Neal v. Casey, 43 F.3d 48, 56 (3d Cir.

 1994)), overruling on other grounds recognized by SEC v.

 Bankatlantic Bancorp, Inc., 661 F. App’x 629, 635 (11th Cir. 2016).

       If Plaintiffs were asking this Court to order Defendant to

 immediately give each member of the class specific medical

 treatment, then individualized differences might preclude class

 certification. But that is not what Plaintiffs are asking for. See

 ECF No. 1, at 43–45. Indeed, the relief that Plaintiffs seek with

 respect to the class as a whole is limited to changing Defendant’s




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 policies and practices. 5 Defendant has not shown why differences

 in symptoms and treatment considerations should preclude

 awarding such class-wide relief. Accordingly, Plaintiffs have

 satisfied the commonality requirement.

                                 (3) Typicality

        The typicality requirement provides that a class can only be

 certified if “the claims or defenses of the representative parties are

 typical of the claims or defenses of the class.” Fed. R. Civ. P.

 23(a)(3). Claims are typical of each other if they “arise from the

 same event or pattern or practice and are based on the same legal

 theory.” Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332,

 1337 (11th Cir. 1984). In this case, Plaintiffs’ claims arise from the

 very same “pattern or practice” as the class’s claims. Specifically,

 both groups’ claims arise from Defendant’s policies and practices

 for treating HCV. See ECF No. 1. Moreover, Plaintiffs’ claims are

 based on the exact same legal theories as the class’s claims:




        5 For instance, Plaintiffs request an injunction ordering Defendant to
 “develop and adhere to a plan to provide direct-acting antiviral medications to
 all FDC prisoners with chronic HCV, consistent with the standard of care.”
 ECF No. 1, at 44. Ordering a change in policy (even with specific treatment in
 mind) is not the same as ordering a specific treatment. The distinction is that,
 even after the change is enacted, the policy can still take into account inmates’
 individualized conditions.
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 deliberate indifference under the Eighth Amendment, and

 discrimination under the ADA and RA. See id.

       Nonetheless, Defendant argues that this Court should not

 certify the proposed class because of alleged differences between

 Plaintiffs and other class members. See ECF No. 32, at 15

 (“Because . . . a significant portion of the . . . FDC prisoners which

 chronic HCV have vastly different symptoms when compared to

 the Plaintiffs, or even have no symptoms at all, the motion for class

 certification should be denied.”). Again, Defendant misses the

 point. Although “[a] class representative must possess the same

 interest and suffer the same injury as the class members in order

 to be typical under Rule 23(a)(3),” Murray v. Auslander, 244 F.3d

 807, 811 (11th Cir. 2001), “[t]he typicality requirement may be

 satisfied despite substantial factual differences . . . when there is

 a ‘strong similarity of legal theories,’” id. (quoting Appleyard v.

 Wallace, 754 F.2d 955, 958 (11th Cir. 1985)); see also Kornberg, 741

 F.2d at 1337 (“A factual variation will not render a class

 representative’s claim atypical unless the factual position of the

 representative markedly differs from that of other members of the

 class.”). Here, Plaintiffs’ claims are based on the same legal

 theories as the class’s claims, and Plaintiffs are not in a markedly

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 different factual position than other class members (at least not in

 a sense that would be relevant for purposes of their claims).

 Accordingly, Plaintiffs have satisfied the typicality requirement.

                            (4) Adequacy

       The adequacy requirement provides that a class can only be

 certified if “the representative parties will fairly and adequately

 protect the interests of the class.” Fed. R. Civ. P. 23(a)(4).

 Determining adequacy “involves questions of whether plaintiffs’

 counsel are qualified, experienced, and generally able to conduct

 the proposed litigation, and of whether plaintiffs have interests

 antagonistic to the rest of the class.” Griffin v. Carlin, 755 F.2d

 1516, 1533 (11th Cir. 1985).

       There does not appear to be any dispute as to the adequacy

 of Plaintiffs’ counsel. Indeed, Plaintiffs note that their attorneys

 “have extensive experience in class action cases involving federal

 civil rights claims for prisoners,” ECF No. 10, at 21, and Defendant

 does not suggest otherwise, see ECF No. 32, at 18–19. Similarly,

 there does not appear to be much dispute as to Plaintiffs’ adequacy.

 Plaintiffs summarily state that they have “no interest antagonistic

 to or in conflict with the interests of the class members,” ECF No.



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 10, at 22, and Defendant summarily argues that because Plaintiffs

 fail typicality they also fail adequacy, ECF No. 32 at 18–19.

       This Court observed all three Plaintiffs testify at the hearing

 on class certification. All three testified strongly about their

 conditions and their belief that FDC is not treating HCV properly.

 Moreover, all three were asked whether they would adequately

 represent the class (despite having already begun treatment for

 HCV), and all three confirmed that they will. This Court is without

 any doubt as to Plaintiffs’ credibility on this point. Accordingly,

 Plaintiffs have satisfied the adequacy requirement.

                  II. Rule (23)(b)(2) Requirements

       To certify a class under Federal Rule of Civil Procedure

 23(b)(2), the moving party must show that “the party opposing the

 class has acted or refused to act on grounds that apply generally to

 the class, so that final injunctive relief or corresponding

 declaratory relief is appropriate respecting the class as a whole.”

 Fed. R. Civ. P. 23(b)(2). “The key to the (b)(2) class is ‘the

 indivisible nature of the injunctive or declaratory remedy

 warranted—the notion that the conduct is such that it can be

 enjoined or declared unlawful only as to all of the class members

 or as to none of them.’” Wal-Mart, 564 U.S. at 360 (quoting Richard

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 A. Nagareda, Class Certification in the Age of Aggregate Proof, 84

 N.Y.U. L. Rev. 97, 132 (2009)). “In other words, Rule 23(b)(2)

 applies only when a single injunction or declaratory judgment

 would provide relief to each member of the class.” Id.

       Here, certification under Rule 23(b)(2) is appropriate

 because a single injunction or declaratory judgment would provide

 relief to each member of the proposed class. Specifically, if this

 Court enters an injunction forcing Defendant to change FDC’s

 policies and practices with respect to HCV treatment, then each

 member of the proposed class will be able to enjoy those changes.

       Nevertheless, Defendant argues that this Court “should be

 hesitant to allow a Rule 23(b) class determine the how [sic] Florida

 manages its prison system.” ECF No. 32, at 26. Indeed, this Court

 is mindful of FDC’s desire to maintain independent control of its

 operations. But the mere fact that FDC operates prisons is not

 enough to prevent class certification. In fact, class actions are

 common vehicles for raising the type of claims raised here. See

 generally Parsons, 754 F.3d at 686 (“[C]ourts have repeatedly

 invoked [Rule 23(b)(2)] to certify classes of inmates seeking

 declaratory and injunctive relief for alleged widespread Eighth

 Amendment violations in prison systems . . . .”); see also Postawko

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 v. Mo. Dep’t of Corr., No. 2:16-cv-04219-NKL, 2017 WL 3185155,

 at *1 (W.D. Mo. July 26, 2017) (certifying Rule 23(b)(2) class of

 inmates alleging “inadequate medical care for their chronic

 Hepatitis C”); Graham v. Parker, No. 3-16-cv-01954, 2017 WL

 1737871, at *1 (M.D. Tenn. May 4, 2017) (certifying Rule 23(b)(2)

 class of inmates challenging “whether the State of Tennessee’s

 policies and procedures for inmates with Hepatitis C satisfies

 constitutional standards”).

        Defendant also argues that class certification is unnecessary

 given that Plaintiffs “have sued regarding a policy.” ECF No. 32,

 at 30–31. This Court disagrees. 6 Nevertheless, class actions need

 not be necessary. See generally 7AA Charles Alan Wright et al.,


        6 There is at least one reason why class certification is necessary in this
 case: to avoid a dismissal for mootness. See Hamilton v. Hall ex rel. Santa Rosa
 County, No. 3:10cv355/MCR/EMT, 2011 WL 2161139, at *1 (N.D. Fla. May 26,
 2011) (recognizing that “a class action may not be necessary where the relief
 requested otherwise can be obtained” but finding that a class action was
 necessary to avoid the potential for mootness). A class action can proceed even
 if the class representatives obtain their requested relief. See Davis v. Coca-
 Cola Bottling Co. Consol., 516 F.3d 955, 968 n.28 (11th Cir. 2008) (“A class
 representative can have standing to continuing prosecuting a class action for
 relief on behalf of the class members even though he has settled his claim
 against the defendant and his own case is therefore moot.”), abrogation on
 other grounds recognized by LaCroix v. W. Dist. Ky., 627 F. App’x 816, 818 (11th
 Cir. 2015); see also Bishop’s Prop. & Invs., LLC v. Protective Life Ins. Co., 463
 F. Supp. 2d 1375, 1377–82 (M.D. Ga. 2006) (explaining that a party cannot
 moot a case by giving the class representatives their requested relief before the
 Court rules on the motion for certification). So even though Plaintiffs have
 already begun receiving most of the treatment they want, or even if they leave
 FDC custody during the pendency of this case, the case can still go forward.
 This is a luxury that individual plaintiffs would not enjoy.
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 Federal Practice & Procedure § 1785.2 (3d ed. & Apr. 2017 update)

 (explaining that the necessity of a class action is simply a

 discretionary factor for a court to consider). Thus, even if class

 certification is unnecessary here, this Court chooses to exercise its

 discretion by allowing the case to proceed as a class action.

                        III. Subsidiary Issues

       The parties raise several subsidiary issues in their filings.

 For instance, Plaintiffs ask this Court to appoint their attorneys

 as class counsel pursuant to Federal Rule of Civil Procedure

 23(g)(1). ECF No. 10, at 26–27. After considering the factors

 outlined in Rule 23(g)(1), this Court finds that Plaintiffs’ attorneys

 should be appointed class counsel.

       In her response to Plaintiffs’ motion for class certification,

 Defendant argues that “FDC should be allowed to complete

 discovery pertaining to the propriety of a class before a class is

 certified.” ECF No. 32, at 32. Defendant’s response was filed on

 July 7, 2017 (i.e., over four months ago). Since then, the parties

 have had ample time to conduct discovery. Moreover, this Court

 held a five-day hearing on Plaintiffs’ motion. Accordingly, this

 Court does not find that any further delay is necessary.



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       Finally,   Defendant    argues    that   certifying   Plaintiffs’

 proposed class would violate the Rules Enabling Act (“REA”). ECF

 No. 32, at 31–32. Specifically, Defendant argues that the REA

 forbids interpreting Rule 23 to abridge, enlarge or modify any

 substantive right and “[i]f Plaintiffs’ purported class of all chronic

 HCV inmates within FDC is permitted to go forward, plaintiffs

 rights will be enlarged, and the rights of the FDC will be abridged.”

 Id. at 31. Defendant offers no support for this argument, nor does

 she engage in any substantive analysis of the issue. See id. at 31–

 32. Ultimately, this Court disagrees with Defendant’s conclusion

 and summarily rejects the argument without discussion.

       Accordingly,

       IT IS ORDERED:

       1. Plaintiffs’ motion for class certification, ECF No. 10, is

          GRANTED.

       2. This Court certifies a class defined as “all current and

          future prisoners in the custody of the Florida Department

          of Corrections who have been diagnosed, or will be

          diagnosed, with chronic hepatitis C virus (HCV).”




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       3. The class issues are:

             a. Whether FDC’s policies and practices for HCV-

                treatment constitute deliberate indifference to

                serious medical needs, in violation of the Eighth

                Amendment;

             b. Whether FDC’s policies and practices for HCV-

                treatment result in discrimination in violation of

                the ADA; and

             c. Whether FDC’s policies and practices for HCV-

                treatment result in discrimination in violation of

                the RA.

       4. Plaintiffs Carl Hoffer, Ronald McPherson, and Roland

          Molina shall serve as class representatives.

       5. This Court appoints Randall C. Berg, Jr., Dante P.

          Trevisani, and Erica A. Selig as class counsel.

       SO ORDERED on November 17, 2017.

                                  s/Mark E. Walker
                                  United States District Judge




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